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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA

United States of America,                                     Case No. 17-cv-136 (PAM/FLN)

               Plaintiffs,                                    ORDER

               v.

KleinBank,

               Defendant.

                             ______________________________________

                               Ernestine Ward, for Plaintiff.
                            Anupama Skreekanth, for Defendant.
                 ___________________________________________________

       THIS MATTER came before the undersigned United States Magistrate Judge on the

parties’ joint motion regarding continued sealing (ECF No. 43). By their joint motion, the parties

seek to maintain under seal the following docket entries that were initially filed under a temporary

seal pursuant to Local Rule 5.6(d)(1): docket entries 19, 21, 24, 25, 26, 35, and 38. As the Advisory

Committee Note to Local Rule 5.6 observes, the newly implemented Local Rule is designed to

reduce the amount of information filed under seal. The Advisory Committee goes on to blame the

over sealing on confusion over the difference between protective orders and sealing orders. “Even

if such information is covered by a protective order, that information should not be kept under seal

unless a judge determines that a party or non-party’s need for confidentiality outweighs the public’s

right of access.” L. R. D. Minn. 5.6 advisory committee’s note.

       Here, docket entries 24, 25, and 26, are portions of KleinBank’s FDIC compliance reports,

which KleinBank represents were provided to it by the FDIC on the condition that the reports would

be maintained under seal. Federal regulation permits “discretionary disclosure of exempt [financial]

records under [only] certain limited circumstances.” 12 C.F.R.§ 309.1. Federal regulations further
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prohibit general, public disclosure of FDIC records, and imposes penalties on unauthorized

disclosures. See 12 C.F.R.§ 309.6; 12 C.F.R.§ 309.7. Given that the FDIC compliance reports are

subject to federal confidentiality regulations, and that the parties agree that this material should

remain under seal, docket entries 24, 25, and 26 shall remain under seal. See L. R. D. Minn. 5.6

advisory committee’s note.

           Docket entries 19, 35, and 38 comprise the briefing on KleinBank’s motion to dismiss. See

ECF No. 18. KleinBank has filed redacted versions of these docket entries. See ECF Nos. 20, 36,

and 39. KleinBank argues that these docket entries should remain under seal because they quote or

reference the FDIC’s compliance reports, which again, were provided to KleinBank on the condition

that they would be maintained under seal. See generally ECF No. 43. The United States does not

dispute the confidentially “of quotations or factual summaries of the FDIC[‘]s” compliance reports,

but objects to “the heavy redaction of [Kleinbank’s] own characterizations of the reports.” ECF No.

43 at 9.

           The Court concludes that KleinBank’s redactions as to docket entries 19, 35, and 38 are

proper. The FDIC material that KleinBank either references, directly quotes, or analyzes relate to

confidential findings of the FDIC, which are subject to federal confidentiality regulations. Moreover,

these docket entries reference confidential material provided to KleinBank by a federal agency with

the expectation that it would be maintained under seal. The Court recognizes the public’s right of

access to court files, and to that end, the Court notes that the public’s access to this material is not

totally deprived given that the material is redacted, but the public’s right to access content referenced

in the FDIC’s compliance reports is not outweighed here by KleinBank’s need to keep this material

confidential considering it is subject to federal confidentiality regulations. As a result, docket entries


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19, 35, and 38 will remain under seal, and KleinBank is not required to change its redactions,

docketed at 20, 36, and 39, of these docket entries.

       As to docket entry 21, this document is simply an affidavit stating that the FDIC compliance

reports had been docketed as Exhibit A, B, and C respectively (ECF Nos. 24, 25, and 26). Docket

entry 21 does not quote the FDIC compliance report’s or discusses their content or findings. That

the FDIC examined KleinBank on three occasions from 2010 through 2015, is publically available

in KleinBank’s redacted memorandum in support of its motion to dismiss. See ECF No. 20 at 33.

Because docket entry 21 simply references the existence of the FDIC’s examination of KleinBank,

information available in other parts of the public docket, the Court cannot conclude that

KleinBanks’s confidentiality interest in this material outweighs the public’s right of access. See L.

R. D. Minn. 5.6 advisory committee’s note. Accordingly, this docket entry will be unsealed.

       On a final note, the Court observes that the parties have not moved to maintain the seal over

docket entry 45. Local Rule 5.6(d)(2) imposes strict time-limits on when the parties were required

to move to maintain the seal over this docket entry. The parties are instructed to file a joint motion

regarding continued sealing in conformity with the Local Rule 5.6(d)(2) within ten (10) days of this

Order, or docket entry 45 will be unsealed.

       Based upon the foregoing, and all of the files, records and proceedings herein, it is hereby

ORDERED that the parties’ joint motion regarding continued sealing (ECF No. 43) is GRANTED

in part. Docket entries 19, 24, 25, 26, 35, and 38, referenced above, will remain SEALED, and

docket entry 21, referenced above, will be UNSEALED.


DATED: February 16, 2018                               s/Franklin L. Noel
                                                       FRANKLIN L. NOEL
                                                       United States Magistrate Judge




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